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                                                                   November 29, 2016


  Catherine Farmer, Psy.D.
  Manager, Disability Services
  National Board of Medical Examiners
  3750 Market Street
  Philadelphia, PA 19104

  Dear Dr. Farmer:

      I am writing in regard to the materials submitted by Bryan Messenger (USMLE #0-943-207-1),

  who has requested accommodations for the USMLE Step 2 CK exam. In his application he indicated

  that he was diagnosed with a Reading Disorder in 2011 (30 years of age). I have previously reviewed

  Bryan's file and submitted a review to NBME on 12/18/15. For that review, he had also been

  diagnosed with (but did not claim) Disorder of Written Expression. Based on my review of the

  documentation submitted by Bryan at that time, it was my opinion that the available evidence did not

  demonstrate that he met the DSM-IV criteria for either Reading Disorder or Disorder of Written

  Expression. For that review, Bryan submitted the following materials: 1) a personal statement

  (undated); 2) unofficial transcripts from Utah Valley University and the University of Utah; 3) a copy

  of MCA T scores (2007-201 O); 4) a psychoeducational evaluation completed on 12/23/11 by Dr.

  Edward Martinelli; 5) an evaluation completed on 11/2/15 at the Dyslexia Center of Princeton by Dr.

  Lisa Kestler; 6) a USMLE form which indicates that he has received accommodations in medical

  school since 2/10/12; and 7) a letter written by Dr. C. V. Rao dated 4/8/14.



       For the current review, Bryan submitted these additional materials: 1) another personal statement

  (undated); 2) a copy of his high school transcript; 3) a copy of his ACT scores (4/99 and 12/99); 4) a

  parental prior notice from the Provo School District dated 9/21 /89; 5) copies and partial copies of IEPs
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   from the Provo School District dated from 9/89 through 1997 (grades 2-1 O); 6) copies of transition

   planning forms from 1996 and 1998; 7) a copy of prior notice from the Provo School District dated

   9/99 (grade 12); 8) copies of Student Profiles from the Provo School District from 1991-93 (grades 3-

   5); and 9) a copy of Stanford Achievement Test scores from 10/92.



        Based on my review of the additional documentation, it is my opinion that the evidence does not

   support the diagnosis of Reading Disorder. Although Bryan may have exhibited early difficulties with

   reading and was provided with special education assistance in elementary and middle school (and

   perhaps, high school), the objective evidence shows that he has been able to learn and achieve at a

   level commensurate with, or above, his same age peers in the general population. As a result. the

   documentation does not show a substantial impairment to a major life activity. The following analysis

   is offered in support of my opinion.



       The documentation shows that Bryan may have exhibited early difficulties with reading in

   elementary school and that he was provided with IEPs from         2nd _9th   (and maybe I 01h) grades. However,

   he did not submit any report cards or testing records from elementary and middle school, and did not

   submit any testing records from secondary school. Thus, his reading skill levels during this period of

   time are unknown. The available documentation did include Stanford Achievement Test scores from

   either 5th or 6th grade, which indicated that Bryan achieved in the below average range on the Total

   Reading Composite   (7th   percentile). But, the available documentation also showed that he achieved

   from average to above average in reading skills in   3rd_5ih   grades on school testing. The IEPs from 1996

   and 1998 included some grade equivalent scores in reading on an unspecified test (WCJ or WCT), but

   grade equivalent scores cannot be used for diagnostic or comparison purposes. The available

   documentation was unclear about the extent to which Bryan was provided with special education
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   assistance or accommodations in high school, but by the 11th or 12th grades, the records indicated that

   he did not meet criteria to receive special education services. After he graduated from high school,

   Bryan was not provided with accommodations until he entered medical school. His scores on the ACT

   varied, but he scored in the average range on the English (3ih percentile) and Reading sections (24th

   percentile) when compared to a select population the second time he took this test without

   accommodations . All of the aforementioned information was gleaned from the additional

   documentation. In my previous review, I found that Bryan earned an Associate degree and attained a

   3.20 GPA while earning his Bachelor's degree. He achieved in the average range on the Verbal (2ih-

   6i11 percentile) and Total Test (43rd_55th percentile) sections of the MCAT when compared to a highly

   selective group of medical school applicants. He was employed as a teacher at a trade school and was

   apparently successful in this position. Bryan passed the USMLE Step 1 and Step 2 CS exams. These

   accomplishments, i.e., Associate's and Bachelor's degrees, average MCAT scores, successful

   employment, passing scores on the USMLE Step 1 and Step 2CS exams, were attained without the

   benefit of accommodations. Although Bryan may have had early difficulties with reading, his skills

   obviously had improved to the extent that he could achieve at a level with, or above, his same age

   peers in the general population in his undergraduate education and, at minimum, in the average range

   on timed, standardized tests when compared to select populations.



       Given the additional documentation provided by Bryan, the evidence suggests that he may have a

  history of reading difficulties during his school age years and that he may have been achieving below

  others of his same age in the general population at that time. But, he did very well in his high school

  courses and the documentation is unclear as to whether, or to what extent, he used accommodations in

  his secondary education classes. He was diagnosed with a disability and was provided with IEPs

  through part of his elementary and middle school education. However, he achieved in the average
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   range on the ACT English and Reading sections and attained a 3.20 GPA in college without

   accommodations while being compared to select populations. Likewise, he achieved in the average

   range on the MCA T when compared to a highly selective group of medical school applicants and

   passed both the USMLE Step 1 and Step 2 CS exams without accommodations. He was successfully

   employed as a teacher, but was not provided with accommodations in this position. When his

   successful academic and testing histories are paired with the fact that he achieved in the average range

   on timed, standardized measures of reading (and writing) in the 2011 and 2015 evaluations when

   compared to his same age peers in the general population, the objective evidence demonstrates that his

   reading skills are, at minimum, commensurate with his same age peers in the general population. In

   addition, he used his reading skills to achieve at levels consistent with, or above, his same age peers in

   the general population in his undergraduate education. Moreover, his reading skills were strong enough

   to achieve in the average range when compared to a highly selective population on the MCAT and to

   pass the Step l and Step 2 CS exams.



       Given the totality of the objective evidence that includes the additional documentation, it is my

   opinion that Bryan is able to learn and achieve at a level commensurate with, or above, his same age

   peers in the general population. The prior provision of accommodations is not sufficient to indicate that

   accommodations will be provided in the future. In Bryan's case, the objective evidence does not show

   that he is substantially limited in a major life activity compared to most people. Instead, the evidence

   shows that he had done better academically than most people in the general population, and at least as

   well as highly selective peers in competitive settings. Thus, it is my conclusion that the request for

   accommodations should be denied.

                                                         Sincerely,

                                                         Richard L. Sparks, Ed.D.
